

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-66,070-01






EX PARTE TONY LYNN HAILEY, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 19042 IN THE 336TH JUDICIAL DISTRICT COURT


FROM FANNIN COUNTY





	Per curiam.

		

O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of sexual assault
of a child and indecency with a child and sentenced to twenty (20) years' imprisonment as to each
count.  The Sixth Court of Appeals affirmed his conviction.  Hailey v. State, No. 06-00-00060-CR
(Tex. App. - Texarkana, August 10, 2001, no pet.). 

	Applicant contends that his trial counsel rendered ineffective assistance because counsel
lacked an understanding of the DNA testing methods, failed to hire a DNA expert, and failed to
cross-examine the State's DNA expert.  Applicant also asserts that before trial, the trial court
removed appointed counsel after counsel requested an examining trial, and that substitute counsel
never complied with Applicant's request that he move for an examining trial.

	Applicant has alleged facts that, if true, might entitle him to relief.  Strickland v. Washington,
466 U.S. 608 (1984); Ex parte Lemke, 13 S.W.3d 791,795-96 (Tex. Crim. App. 2000).  In these
circumstances, additional facts are needed.  As we held in Ex parte Rodriguez, 334 S.W.2d 294, 294
(Tex. Crim. App. 1997), the trial court is the appropriate forum for findings of fact.  The trial court
shall provide Applicant's trial counsel with the opportunity to respond to Applicant's claim of
ineffective assistance of counsel.  The trial court may use any means set out in Tex. Code Crim.
Proc. art. 11.07, § 3(d).  In the appropriate case, the trial court may rely on its personal recollection. 
Id.

	If the trial court elects to hold a hearing, it shall determine whether Applicant is indigent. If
Applicant is indigent and wishes to be represented by counsel, the trial court shall appoint an
attorney to represent Applicant at the hearing.  Tex. Code Crim. Proc. art. 26.04. 

	The trial court shall make findings of fact as to whether the performance of Applicant's trial
attorney was deficient and, if so, whether counsel's deficient performance prejudiced Applicant.  The
trial court shall also make findings as to whether and why prior appointed counsel was removed from
the representation of Applicant, and whether and why substitute counsel did not move for an
examining trial.  The trial court shall also make any other findings of fact and conclusions of law that
it deems relevant and appropriate to the disposition of Applicant's claim for habeas corpus relief.

	This application will be held in abeyance until the trial court has resolved the fact issues.  The
issues shall be resolved within 90 days of this order.  If any continuances are granted, a copy of the
order granting the continuance shall be sent to this Court.  A supplemental transcript containing all
affidavits and interrogatories or the transcription of the court reporter's notes from any hearing or
deposition, along with the trial court's supplemental findings of fact and conclusions of law, shall
be returned to this Court within 120 days of the date of this order.  Any extensions of time shall be
obtained from this Court. 




Filed: November 22, 2006

Do not publish


